UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CATHERINE MCKOY, et al.,

                                Plaintiffs,
                                                               CIVIL ACTION NO.: 18 Civ. 9936 (LGS) (SLC)
       -v-
                                                                     SIXTH AMENDED CIVIL CASE
                                                                 MANAGEMENT PLAN AND SCHEDULING
THE TRUMP CORPORATION, et al.,                                               ORDER

                                Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       The parties’ request (ECF No. 439) for an extension of the discovery schedule is GRANTED,

and the case management plan is amended as follows:

       1. All fact discovery, including depositions, shall be completed by August 31, 2022;

       2. By September 7, 2022, the parties shall file a joint letter certifying the completion of

             fact discovery;

       3. All expert discovery shall be completed by January 24, 2023;

       4. By January 31, 2023, the parties shall file a joint letter certifying the completion of

             expert discovery and advising whether they wish for the Court to conduct a

             settlement conference; and

       5. The briefing schedule for Plaintiffs’ anticipated motion for class certification

             (the “Motion”) is amended as follows:

                a. By February 14, 2023, Plaintiffs shall file the Motion;

                b. By April 1, 2023, Defendants shall file their opposition to the Motion; and

                c. By April 28, 2023, Plaintiffs shall file their reply, if any.
         The Clerk of Court is respectfully directed to close ECF No. 439.

Dated:          New York, New York
                June 27, 2022

                                                      SO ORDERED.



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                                                      SARAH L. CAVE
                                                      United States Magistrate Judge




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